
182 Mich. App. 596 (1989)
452 N.W.2d 832
AuSABLE MANISTEE ACTION COUNCIL, INC
v.
STATE OF MICHIGAN
Docket No. 109084.
Michigan Court of Appeals.
Decided December 27, 1989.
Learman, Peters, Sarow &amp; McQuillan (by Richard B. Learman), for plaintiff.
Frank J. Kelley, Attorney General, Louis J. Caruso, Solicitor General, and Thomas J. Emery and Terry L. Norton, Assistant Attorneys General, for defendant.
Before: McDONALD, P.J., and HOOD and GRIFFIN, JJ.
PER CURIAM.
On November 9, 1987, plaintiff filed a complaint in Crawford Circuit Court seeking an injunction to enforce use restrictions in a deed. Specifically, plaintiff sought to enjoin defendant from allowing use of donated land (Camp Grayling) by military units not affiliated with or accountable to defendant. Plaintiff also sought declaratory relief regarding the rights and obligations of the parties with respect to the use restrictions.
The circuit court granted defendant summary disposition opining that (1) it lacked subject matter jurisdiction over plaintiff's suit because the Court of Claims had exclusive jurisdiction over the case *598 and (2) the doctrine of sovereign immunity was applicable to plaintiff's action.
Plaintiff now appeals as of right from the May 12, 1988, order dismissing its complaint. We reverse.
Plaintiff first argues that defendant was not immune from liability arising out of its suit because the action sounded in contract.
Both parties and the circuit court acknowledged that plaintiff's complaint to enforce the use restrictions constituted a cause of action arising out of a contract. Our Supreme Court has established that sovereign immunity does not bar contract claims against the state. Zynda v Aeronautics Comm, 372 Mich 285, 287; 125 NW2d 858 (1964); W H Knapp Co v State Highway Dep't, 311 Mich 186, 188; 18 NW2d 421 (1945); Hersey Gravel Co v State Highway Dep't, 305 Mich 333, 339; 9 NW2d 567 (1943). See also Davidson v Michigan, 42 Mich App 80, 83; 201 NW2d 296 (1972). Consequently, plaintiff's claim against defendant was not barred and the circuit court's ruling on this issue was incorrect.
Plaintiff next asserts that the circuit court had jurisdiction over its suit for injunctive and declaratory relief. We agree.
Under MCL 600.6419(1)(a); MSA 27A.6419(1)(a), the Court of Claims has exclusive jurisdiction to "hear and determine all claims and demands, liquidated and unliquidated, ex contractu and ex delicto, against the state and any of its departments, commissions, boards, institutions, arms, or agencies." This section has been interpreted as limiting the jurisdiction of the Court of Claims to actions for money damages. Taylor v Auditor General, 360 Mich 146, 151; 103 NW2d 769 (1960); Paquin v Northern Michigan University, 79 Mich App 605, 607; 262 NW2d 672 (1977); Dorfman v *599 State Highway Dep't, 66 Mich App 1, 3; 238 NW2d 395 (1975).
In 1984, the Court of Claims Act was amended to add MCL 600.6419a; MSA 27A.6419(1), which provides that the Court of Claims also has jurisdiction concurrent with the circuit court over any action for equitable or declaratory relief ancillary to a claim filed pursuant to MCL 600.6419; MSA 27A.6419 (i.e., ancillary to a claim for money damages). If no such ancillary claim exists, then the Court of Claims lacks jurisdiction over equitable claims. 77th District Judge v Michigan, 175 Mich App 681, 699; 438 NW2d 333 (1989).
In the instant case, there was no ancillary claim for money damages. Therefore, under the clear language of MCL 600.6419a; MSA 27A.6419(1), we believe that the circuit court had jurisdiction to entertain plaintiff's action.
However, we choose not to end our analysis here because of defendant's extensive reliance upon the Supreme Court's decision in Greenfield Construction Co, Inc v Dep't of State Highways, 402 Mich 172; 261 NW2d 718 (1978) (plurality opinion). Greenfield was decided before the 1984 amendment to the Court of Claims Act and is relevant only as it relates to plaintiff's claim for declaratory relief.
In 77th District Judge v Michigan, supra, another panel of this Court interpreted the Greenfield decision and stated that the Supreme Court, in finding that the Court of Claims had power to grant declaratory judgments, assumed that the Court of Claims would otherwise have jurisdiction over the substantive claim underlying the demand for declaratory relief. 77th District Judge v Michigan, supra, p 700, citing Justice LEVIN's opinion in Greenfield. Consequently, this Court held that a

*600 [d]eclaratory judgment is appropriate in the Court of Claims only if the underlying dispute or controversy is of a nature lending itself to an eventual remedy in money damages against the state or one of its branches. [Id.]
As previously stated, the present case encompassed only claims for equitable relief. Therefore, even under the auspices of the Greenfield decision, the circuit court had jurisdiction over plaintiff's claim for declaratory relief.
In light of the aforementioned findings, we conclude that the circuit court erred in granting defendant summary disposition.
Reversed and remanded for further proceedings consistent with this opinion.
